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                        IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF OREGON

 NICOLE GILILLAND,

                                        Plaintiff,
                                                                            6:19-cv-00283-MK
                       V.
                                                                                  JUDGMENT
 SOUTHWESTERN OREGON
 COMMUNITY COLLEGE DISTRICT, by
 and through its Board of Education, an
 Oregon community college district and board;
 and SOUTHWESTERN OREGON
 COMMUNITY COLLEGE, an Oregon
 community college,

                                      Defendants.

       Based on the record, judgment for Defendants as to the Title IX Claim, and for Plaintiff

as to the Breach of Contract Claim.

       Dated this 7th day of July 2022.

                                                     s/ Mustafa T. Kasubhai
                                                     MUSTAFA T. KASUBHAI (He/Him)
                                                     United States Magistrate Judge
